          Case
AO 106 (Rev. 04/10) 2:18-mj-02674-DUTY
                    Application for a Search Warrant         Document 1 Filed 10/09/18 Page 1 of 43 Page ID #:1

                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                               Central District
                                                            __________  Districtofof
                                                                                   California
                                                                                     __________

             In the Matter of the Search of                                 )
         (Briefly describe the property to be searched or                   )
          identify the person by name and address)
                                                                            )        Case No. 18-2674M
                                                                            )
         8000 Telegraph Road, Apartment                                     )
         #40, Downey, California 90240                                      )
                                                                            )

                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

      See Attachment A
located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
      See Attachment B
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 evidence of a crime;
                 contraband, fruits of crime, or other items illegally possessed;
                 property designed for use, intended for use, or used in committing a crime;
                 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                             Offense Description
        18 U.S.C. Section 1001(a)                                          False Statements to Government Agency
        18 U.S.C. Section 1015                                             False Statement in Immigration Proceeding
        18 U.S.C. Section 1425(a)                                          Unlawful Procurement of Naturalization
        18 U.S.C. Section 1542(a)                                          Use of A Passport Procured By False Statements
        18 U.S.C. Section 1544                                             Misuse of a Passport
        18 U.S.C. Section 1621                                             Perjury
          The application is based on these facts:
                 See attached Affidavit
                     Continued on the attached sheet.
        Delayed notice of            days (give exact ending date if more than 30 days:                                    ) is requested
      under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                  Applicant’s signature


                                                                                                  Printed name and title

Sworn to before me and signed in my presence.

Date:     October           , 2018
                                                                                                    Judge’s signature

City and state: Los Angeles, CA                                              KAREN l. STEVENSON, U.S. Magistrate Judge
                                                                                                  Printed name and title
AUSA: Annamartine Salick (213) 894-3424
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                              ATTACHMENT A

                       PROPERTY TO BE SEARCHED

     8000 Telegraph Road, Apartment #40, Downey, California,
90240.

     This location is identified by a tall sign in front of the
complex that states, “8000 Seville Apartments”. The complex is
a two-story, dark brown structure in the shape of a rectangle
with entry and egress located on the Westside of the complex,
facing Tweedy Lane. The complex is a gated community with
apartments on the lower and upper levels. Apartment # 40 is on
the upper level with a white numbered 40 on the door. An air
conditioner unit is visible to the right of the apartment door.
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                              ATTACHMENT B

                          ITEMS TO BE SEIZED
I.   ITEMS TO BE SEIZED

     1.   The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of

18 U.S.C. § 1001(a) (False Statements to Government Agency);

18 U.S.C. § 1015 (False Statement in Immigration Proceeding);

18 U.S.C. § 1425(a) (Unlawful Procurement of Naturalization);

18 U.S.C. § 1542(a) (Use of A Passport Procured By False

Statements); 18 U.S.C. § 1544 (Misuse of a Passport);

and 18 U.S.C. § 1621 (Perjury), (collectively, the “Subject

Offenses”), namely:

          a.    All documents, records, programs, applications,

or materials related to Vallmoe Shqaire’s (“SHQAIRE”), also

known as “Mohamad Shqaire” and “Mahmad Hadr Mahmad Shakir,”

immigration into the United States, including his B2 visa, Form

I-485, (Application to Register Permanent Residence or Adjust

Status), Form N-400 (Application to Become a United States

Citizen), and Naturalization Certificate.

          b.    SHQAIRE’s United States Passport and any other

passport or forms of identification in SHQAIRE’S name and/or

variants of SHQAIRE’S name or anyone else;

          c.    All documents, records, programs, applications,

or materials related to the Palestinian Liberation Organization

(“PLO”), Fatah, and the “Shabeba Cell.”




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          d.    All documents, records, programs, applications,

or materials related to Israel’s investigation into SHQAIRE and

his arrest, conviction, criminal proceeding, and sentence.

          e.    All documents, records, programs, applications,

or materials related to SHQAIRE’s domestic and international

travel, including airline tickets, receipts, and itineraries;

          f.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offense/s, and forensic copies thereof.

          g.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;




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                iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.      evidence of the times the device was used;

                vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                viii.        records of or information about

Internet Protocol addresses used by the device;

                ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.   As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.




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      3.   As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICES

      4.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar


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facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

          b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.    The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.


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          c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device

pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime

was encountered, including how it was immediately apparent

contraband or evidence of a crime.

          d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

          e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

          f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.




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             g.   The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

             h.   After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

        5.   In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

             a.   Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

             b.   Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

             c.   Any magnetic, electronic, or optical storage

device capable of storing digital data;




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           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           g.    Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

      6.   During the execution of this search warrant, with

respect to SHQAIRE, the law enforcement personnel are authorized

to: (1) depress the thumb- and/or fingerprints of the person

onto the fingerprint sensor of the device (only when the device

has such a sensor), and direct which specific finger(s) and/or

thumb(s) shall be depressed; and (2) hold the device in front of

the face of the person with his or her eyes open to activate the

facial-, iris-, or retina-recognition feature, in order to gain

access to the contents of any such device.

      7.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not


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apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT
I, Daniel A. Rocha, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION
      1.     I am a Special Agent (“SA”) with the Department of

Homeland Security (“DHS”), Immigration and Customs Enforcement

(“ICE”), Homeland Security Investigations (“HSI”) and have been

so employed with HSI since 2004.       I am currently assigned to the

Joint Terrorism Task Force ("JTTF") for the Los Angeles office

of HSI.    Since entering duty, I have conducted multiple

investigations into immigration fraud, criminal visa fraud, and

human trafficking and smuggling.       I am a graduate of the Federal

Law Enforcement Training Center in Glynco, Georgia, where I

attended Criminal Investigator Training and HSI Special Agent

Training.    I have personally participated in this investigation

and have received information from other law enforcement

officials.

                        II. PURPOSE OF AFFIDAVIT
      2.     This affidavit is made in support of an application

for a warrant to search the residence located at 8000 Telegraph

Road, Apartment #40, Downey, California 90240, (“SUBJECT

PREMISES”), further described in Attachment A, for evidence,

contraband, fruits, or instrumentalities of criminal violations

of 18 U.S.C. § 1001(a) (False Statements to Government Agency);

18 U.S.C. § 1015 (False Statement in Immigration Proceeding);

18 U.S.C. § 1425(a) (Unlawful Procurement of Naturalization);

18 U.S.C. § 1542(a) (Use of A Passport Procured By False
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Statements); 18 U.S.C. § 1544 (Misuse of a Passport); and

18 U.S.C. § 1621 (Perjury), (collectively, the “Subject

Offenses”).

      3.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from other agents and witnesses.           This

affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not purport to

set forth all of my knowledge of or investigation into this

matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only, and all dates set forth

below are on or about the dates indicated.

                     III. PREMISES TO BE SEARCHED
      4.    The premises to be searched is located at 8000

Telegraph Road, Apartment #40, Downey, California, 90240,

located within the Central District of California and further

described in Attachment A.

                      IV. SUMMARY OF INVESTIGATION
      5.    HSI is investigating Vallmoe Shqaire (“SHQAIRE”), also

known as “Mohamad Shqaire” and “Mahmad Hadr Mahmad Shakir,” a

Palestinian-born, Jordanian citizen who was granted United

States Citizenship on November 6, 2008.        Following SHQAIRE’s

acquisition of citizenship, HSI learned that SHQAIRE made

materially false statements under penalty of perjury in

connection with his naturalization application and interview.

Specifically, SHQAIRE attested under oath that:



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(1) he had never been arrested for or convicted of a crime or

served time in jail or prison; (2) he had never been a member of

or associated with any organization, association, fund,

foundation, party, club, society or similar group in the United

States or in any other place; and (3) he had never given false

or misleading information to any United States government

official while applying for an immigration benefit.

        6.     Documents received from Israel via Mutual Legal

Assistant Treaty (“MLAT”) requests show that SHQAIRE was, in

fact:       (1) arrested, charged, and convicted of being a member of

the Palestinian Liberation Organization’s (“PLO”) “Shabeba”1

cell; (2) was arrested, charged, and convicted in Israel of,

inter alia, placing an Improvised Explosive Device (“IED”) on an
Israeli bus on December 11, 1988; and (3) served approximately 4

years in prison for these offenses.        In addition, a review of

SHQAIRE’s June 5, 2002 application to become a Lawful Permanent

Resident (“LPR”), shows that SHQAIRE falsely stated under

penalty of perjury, as he did in his 2008 naturalization

application, that he had never been arrested, cited, indicted,

fined or imprisoned for breaking or violating any law or

ordinance.




        1
       Based on my investigation into this matter and my
conversations with other law enforcement personnel, I understand
the “Shabeba” cell to be a small, informal group that supports
the PLO.


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                         I.    LEGAL BACKGROUND

      A.   Applicable Statues
      7.   Based upon my training and consultations with the

United States Code, I know the information set forth in the sub-

paragraphs below:

           a.    The relevant text of 18 U.S.C. § 1001(a) is as

follows:

      [W]hoever, in any matter within the jurisdiction of
      the executive, legislative, or judicial branch of the
      Government of the United States, knowingly and
      willfully—

           (1) falsifies, conceals, or covers up by any
      trick, scheme, or device a material fact;

           (2) makes any materially false, fictitious, or
      fraudulent statement or representation; or

           (3) makes or uses any false writing or document
      knowing the same to contain any materially false,
      fictitious, or fraudulent statement or entry;

      Shall be fined under this tittle, imprisoned not more
      than 5 years . . . or both.

           b.    The relevant text of 18 U.S.C. § 1015 is as

follows:

      Whoever knowingly makes any false statement under
      oath, in any case, proceeding, or matter relating to,
      or under, or by virtue of any law of the United States
      relating to naturalization, citizenship, or registry
      of aliens . . . Shall be fined under this title or
      imprisoned not more than five years, or both.

           c.    The relevant text of 18 U.S.C. § 1425(a) is as

follows:

      Whoever knowingly procures or attempts to procure,
      contrary to law, the naturalization of any person, or
      documentary or other evidence of naturalization or of
      citizenship . . . shall be fined under this tittle or
      imprisoned not more than . . . 10 years, or both.


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           a.    The relevant text of 18 U.S.C. § 1542 is as

follows:

      Whoever willfully and knowingly uses or attempts to
      use . . . any passport the issue of which was secured
      in any way by reason of any false statement – Shall be
      fined under this title, imprisoned not more than . . .
      10 years, or both.


           b.    The relevant text of 18 U.S.C. § 1544 is as

follows:

      Whoever willfully and knowingly uses or attempts to
      use any passport in violation of the conditions or
      restrictions therein contained, or of the rules
      prescribed pursuant to the laws regulating the
      issuance of passports . . . shall be fined under this
      tittle or imprisoned not more than . . . 10 years, or
      both.

           c.    The relevant text of 18 U.S.C. § 1621 is as

follows:

      Whoever, having taken an oath before a competent
      tribunal, officer, or person, in any case in which a
      law of the United States authorizes an oath to be
      administered, that he will testify, declare, depose,
      or certify truly, or that any written testimony,
      declaration, deposition, or certificate by him
      subscribed, is true, willfully and contrary to such
      oath states or subscribes any material matter which he
      does not believe to be true . . . is guilty of perjury
      and shall . . . be fined under this tittle or
      imprisoned not more than five years, or both.

      B.   The Palestinian Liberation Organization and Fatah
      8.   I know based on my training and experience,

conversations with other law enforcement personnel, and my

review open-source news reports and United States Congressional

publications that:



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             a.     The PLO is a political entity dedicated to the

“liberation of Palestine” through violent, armed struggle.

Since the early 1960’s, the PLO has operated as a government in

exile within the disputed territories of the West Bank and Gaza,

currently held by Israel.      The PLO is an umbrella group that

includes a wide-range of secular and religious factions and

ideologies.       Fatah is the PLO’s largest faction and is similarly

dedicated to the establishment a Palestinian state in the

disputed territories currently held by Israel.

             b.     In 1993, the PLO and Israel signed the Oslo Peace

Accords that granted the Palestinians the right to self-govern

the Gaza Strip and portions of the West Bank through the newly

created Palestinian Authority.       In exchange, the PLO recognized

Israel’s right to exist and formally rejected violence and

terrorism.

             c.     Prior to the signing of the Oslo Peace Accords,

the PLO was committed to an armed struggle against Israel and

was recognized as a terrorist organization by the United States

and other countries.      In 1987, the United States Congress found

that the PLO and its affiliates were responsible for the murder

of dozens of Americans and determined that the PLO and its

affiliates were “terrorist organization[s] and a threat to the

interest of the United States, its allies, and to intentional

law.”




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                    V. STATEMENT OF PROBABLE CAUSE

      A.   Review of SHQAIRE’S Immigration File
      9.   Based upon my conversations with United States

Citizenship and Immigration Services (“USCIS”) Officers and HSI

SAs, I know the information set forth in the sub-paragraphs

below:

           a.     USCIS is the agency within Department of Homeland

Security that is charged with administrating the legal process

used by foreign nationals to immigrate to the United States.

USCIS is responsible for the administration of the immigration

and naturalization adjudication functions and for establishing

immigration services and policies.

           b.     The term “A-File” refers to an Alien Registration

File, maintained by USCIS, that contains immigration records for

aliens admitted to, or found within, the U.S.         These records can

include, but are not limited to, photographs, fingerprints,

employment-related documents, and immigration petitions filed

by, or on behalf of, an alien.

           c.     A United States visa is a travel document

authorizing citizens of a foreign country to enter the United

States for specific purposes, such as tourism, business, or

employment.     A B2 visa temporary authorizes a foreigner to enter

and reside in the United States for the purpose of tourism.

           d.     One way to apply to become a United Sates citizen

is for a qualifying relative of the individual, such as a

spouse, to file a DHS USCIS Form I-130, Petition for Alien




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Relative.   This form establishes the relationship between the

qualifying relative (petitioner) and the individual.

            e.   Once the Form I-130 is approved (and depending on

other criteria, such as, if the individual is an immediate

relative of a United States citizen or if the priority date on

the Department of State’s Visa Bulletin is current), the

individual may then apply to become a Lawful Permanent Resident

(“LPR”) by filing the Form I-485, Application to Register

Permanent Residence or Adjust Status.        An LPR enjoys a variety

of benefits certain visa holders do not, such as the right to

work while in the United States.         The Form I-485 is a

questionnaire the applicant fills out under penalty of perjury.

Following an investigation, USCIS interviews the applicant,

places the applicant under oath, asks that the applicant re-

affirm under penalty of perjury the answers contained in the

Form I-485 and any other statements the applicant made during

the interview are all true.

            f.   After five years, or three years if the LPR is

filing as the spouse of a United States citizen, an LPR may

apply to become a naturalized citizen via the Form I-400.           The

N-400 is a questionnaire, similar to the I-485, which the

applicant fills out under penalty of perjury.         USCIS conducts an

interview of the applicant and the applicant must re-affirm

under penalty of perjury that the answers from the Form N-400

and any other statements made during the interview are all true.

            g.   USCIS will notify the applicant if the

naturalization application is granted, continued, or denied.            If



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the application is granted, the applicant will appear for a

naturalization ceremony and take the Oath of Allegiance to the

United States, at which time the applicant becomes a citizen.

      10.   I reviewed SHQAIRE’s A-file and conducted interviews

with SHQAIRE’S associates and learned the information summarized

in the sub-paragraphs below:

            a.   SHQAIRE listed his date and place of birth in the

Form I-485 as September 17, 1967 and Palestine, respectively.

In the Form N-400, SHQAIRE listed his place of birth as Jordan.

I know from my training and experience that individuals born in

Palestine often list Jordan as their place of birth or country

of citizenship because many countries do not recognize Palestine

as a country.

            b.   SHQAIRE entered the United States on a B2

visitor’s visa on September 24, 1999.

            c.   Later that year, SHQAIRE married an American

citizen in Los Angeles, CA.      During an HSI interview of this

American citizen, (“N.A.”), on March 24, 2016, N.A. admitted

that marriage was fraudulent.       N.A. stated that she was paid

$500 to marry SHQAIRE, whom she met for the first time at the

marriage ceremony on November 11, 1999.

            d.   On March 7, 2001, N.A. filed an I-130 (Petition

for Alien Relative).     The petition was denied because N.A. and

SHQAIRE divorced in 2002 while the application was pending.

            e.   Following his divorce from N.A., on April 9,

2002, SHQAIRE married a second woman, (“V.H”), a naturalized-

American citizen from Vietnam.       During an HSI interview on March



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10, 2016, V.H. stated that the marriage was legitimate and that

she divorced SHQAIRE in 2010 because he was unfaithful.

            f.    On June 5, 2002, V.H. submitted a Petition for

Alien Relative and Application for Adjusted Status.          The

application was approved on November 5, 2004.

            1.    SHQAIRE Obtains Lawful Permanent Resident Status
                  by Making Materially False Statements

      11.   Based on my review of SHQAIRE’S I-485 application, I

learned the following:

            a.    On June 5, 2002, SHQAIRE applied to become an LPR

via a Form I-485.      SHQAIRE declared under penalty of perjury

that the application and evidence submitted was “all true and

correct.”

            b.    SHQAIRE made the following attestations on the

Form I-485 under oath that, based on the evidence described

herein in Part B, were later determined to be false:

      Part 3. Part C: List your present and past membership
      in or affiliation with every political organization,
      association, fund, foundation, party, club, society or
      similar group in the United States or in other places
      since your 16th birthday.

      Answer:    None.

      Part 3. Question 1(b):     Have you ever, in or outside
      the U.S. been arrested,    cited, charged, indicted,
      fined or imprisoned for    breaking or violating any law
      or ordinance, excluding    traffic violations?

      Answer:    No.

      Part 3. Question 4: Have you ever engaged in,
      conspired to engage in, or do you intend to engage in,
      or have you ever solicited membership or funds for, or
      have you through any means ever assisted or provided
      any time of material support to any person or


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      organization that has ever engaged or conspired to
      engage in sabotage, kidnapping, political
      assassination, hijacking or any other form of
      terrorist activity?

      Answer:    No.


            c.    SHQAIRE signed the application on June 5, 2002,

and certified “under penalty of perjury” that the “application

and the evidence submitted with it is true and correct.”

      12.   I know from my conversations with USCIS Officer Peter

Palinay that on November 5, 2004, Officer Palinay interviewed

SHQAIRE in connection with his I-485 application.          SHAQIRE was

placed under oath and reaffirmed that the answers on his I-485

application were true.      That same day, USCIS approved SHQAIRE’s

I-485 application and his immigration status was adjusted to

become an LPR.

            2.    SHQAIRE Secures Citizenship by Making
                  Materially False Statements under Oath

      13.   Based on my review of SHQAIRE’S N-400 application, I

learned the following:

            a.    On August 9, 2007, SHQAIRE applied to become a

naturalized citizen via an N-400 application.         As part of the

application, SHQAIRE certified under penalty of perjury that the

application and the evidence submitted with it were “all true

and correct.”

            b.    SHQAIRE made the following attestations under

oath that, based on the evidence described herein in Part B,

were later determined to be false in his N-400 application:




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      Section B: Affiliations, Question 8(a): Have you ever
      been a member of or associated with any organization,
      association, fund, foundation, party, club, society or
      similar group in the United States or any other place?

      Answer:   No.

      Section B: Affiliations, Question 9(c): Have you ever
      been a member of or in any way associated (either
      directly or indirectly) with: A terrorist
      organization.

      Answer:   No

      Section B: Affiliations, Question 10: Have you ever
      advocated (either directly or indirectly) the
      overthrow of any government by force or violence?

      Answer:    No.


      Section B: Affiliations, Question 11: Have you ever
      persecuted (either directly or indirectly any person
      because of race, religion, national origin, membership
      in a particular social group or political opinion.

      Answer:   No.

      Section D: Good Moral Character, Question 16: Have
      you ever been arrested, cited or detained by any law
      enforcement officer . . . for any reason?

      Answer:   No.

      Section D: Good Moral Character, Question 17: Have
      you ever been charged with committing any crime or
      offense?

      Answer:   No.

      Section D: Good Moral Character, Question 18: Have
      you ever been convicted of a crime or offense:

      Answer:   No




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      Section D: Good Moral Character, Question 21:         Have
      you ever been in jail or prison?

      Answer:    No

      Section D: Good Moral Character, Question 23: Have
      you ever given false or misleading information to any
      U.S. government official while applying for any
      immigration benefit or to prevent deportation,
      exclusion or removal?

      Answer:    No

      Section D: Good Moral Character, Question: Have you
      ever lied to any U.S. government official to gain
      entry or admission into the United States?

      Answer:    No

            c.    On August 9, 2007, SHQAIRE certified, under

penalty of perjury, that the application and all evidence

submitted with it were true and correct.

      14.   On October 7, 2008, USCIS Officer Sharise Jackson

interviewed SHQAIRE in connection with his N-400 Application.

According to my review of interview reports of two interviews

HSI conducted with Officer Jackson, I learned the following:
            a.    In 2008, while serving as a naturalization

adjudication officer with USCIS, Officer Jackson had the power

to grant or deny naturalization applications.

            b.    Officer Jackson reviewed SHQAIRE’s 2008 N-400

application and recognized her handwritten notes and signature

on the application.     Officer Jackson explained that, per USCIS

policy, after an applicant is placed under oath, the USCIS

officer records the applicant’s interview answers in red pen and




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then numbers any additional questions and records the answers

asked during the interview.

            c.     According to the notations on SHQAIRE’S N-400

application, SHQAIRE was placed under oath and asked to

re-affirm each answer of his written application.          He did so in

the affirmative.

            d.     Officer Jackson stated that had SHQAIRE provided

complete and truthful answers, she would have requested

additional documentation regarding his prior convictions and PLO

membership.      Officer Jackson explained that such information is

material to her determination.

      15.   In addition to re-affirming under penalty of perjury

the answers SHQAIRE previously submitted to USCIS via the

written N-400 application, SHQAIRE made the following responses

under oath that were later determined to be false:

      Section B: Affiliations, Question 11: Have you ever
      persecuted (either directly or indirectly any person
      because of race, religion, national origin, membership
      in a particular social group or political opinion.

      In Officer Jackson’s Handwriting: “(9): States no”.

      Section D: Good Moral Character, Question 16: Have
      you ever been arrested, cited or detained by any law
      enforcement officer . . . for any reason?

      In Officer Jackson’s Handwriting: “(10) States no”.

      In Officer Jackson’s Handwriting: “(11) States no
      arrest or court”.

      Section D: Good Moral Character, Question: Have you
      ever lied to any U.S. government official to gain
      entry or admission into the United States?

      In Officer Jackson’s Handwriting: “(12) States no”.


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              a.   On October 7, 2008, SHQAIRE signed the following

certification in the presence of Officer Jackson:

        I swear (affirm) and certify under penalty of perjury
        under the laws of the United States of America that I
        know the contents of this application for
        naturalization subscribed to me, including corrections
        numbered 1 through 12 . . . are true and corrected to
        the best of my knowledge.


              b.   Following SHQAIRE’S sworn affirmation, USCIS

granted SHQAIRE’S N-400 application and on November 6, 2008,

SHQAIRE took the oath of allegiance and was awarded United

States citizenship.

        B.    Israeli Court Records Show that SHQAIRE was Arrested,
              Convicted, and Served Approximately 4 Years in Prison
              for Placing an IED on a Bus and for Being a Member of
              the PLO
        16.   According to certified court records received from

Israel pursuant to MLAT requests:

              a.   “Mahmad Hadr Mahmad Shakir,” born 1967, was

arrested on May 27, 1990 and charged in a five-count indictment.

The charges stem from a December 19, 1988 incident in which

SHQAIRE, acting on the direction of a PLO cell, the “Shabeba”

cell, and another man constructed an IED and placed the IED on a

bus used by Israelis.

              b.   Specifically, the indictment charges SHQAIRE

with:    (1) membership in an unlawful organization, to wit, the

“Shabeba” cell of the PLO; (2) activity directed against public

order; (3) incitement and hostile propaganda; (4) placing a bomb

in December 1988 on an Israeli bus with the intent to cause



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death or harm; and (5) activity against public order,

specifically assaulting persons suspected of cooperating with

the Israelis.

      17.   The Israeli authorities also provided the palm and

fingerprints taken from “Mahmad Hadr Mahmad Shakir” at his

arrest in 1990.

      18.   On February 1, 2016, the HSI Forensic Laboratory

compared the palm and fingerprints provided by the Israeli

authorities with fingerprints taken from SHQAIRE in September

2010, and determined that the fingerprint impressions belonged

to the same individual.

      C.    SHQAIRE Admits to Law Enforcement that he was
            Arrested, Convicted, and Served Time in Prison in
            Israel and was a Member of Fatah
      19.   According to reports I reviewed and my conversations

with law enforcement personnel, I learned the following:

            a.    On September 15, 2010, Los Angeles County

Detective Chad Watters and Federal Bureau of Investigations SA

Michael Young interviewed SHQAIRE following his arrest at the

West Hollywood Sherriff’s Station.        After being advised of his

“Miranda rights,” SHQAIRE voluntarily agreed to speak with the

Detective Watters and SA Young.

            b.    SHQAIRE stated that he was part of Fatah.

            c.    SHQAIRE stated that he was arrested and

incarcerated in Israel on two different occasions.

            d.    SHQAIRE stated that when he was in college in

Palestine he became active in anti-Israeli demonstrations.           He

stated that he was young and stupid at the time but was



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influenced by seeing innocent Palestinian men, women, and

children injured or killed by Israelis.        SHQAIRE claimed he

would have never participated in events if he knew the

consequences.

              e.    SHQAIRE claimed that he did not remember if he

disclosed his criminal record or involvement with the PLO in his

applications to become an LPR or citizen.

        20.   According to Los Angeles County Superior Court

certified court records, SHQAIRE pleaded guilty to three counts

of grand theft, in violation of California Penal Code Section

487(a) on July 29, 2011, and was sentenced to 120 days’

imprisonment, five years’ probation, and ordered to pay $75,266

dollars in restitution.

        D.    SHQAIRE Uses his Unlawfully-Acquired Citizenship to
              Fraudulently Acquire a U.S. Passport and Uses the
              Passport to Travel Internationally on Six Occasions
        21.   According to my review of SHQAIRE’s United States

Passport application on file with the United States Department

of State, SHQAIRE applied for a United States Passport in 2008

and provided his Naturalization Certificate as proof of

citizenship.       On November 6, 2008, the Department of State

approved SHQAIRE’S United States Passport application.

        22.   According to a law enforcement database and airline

records I reviewed, SHQAIRE traveled internationally, departing

from and arriving at United States airports, on May 4, 2009, May

18, 2009, May 15, 2012, June 5, 2012, April 15, 2018, and May 7,

2018.    Based on my conversations with United States Customs and

Border Patrol (“CBP”) officers, I know that a person traveling



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internationally at an airport or port of entry must provide

proof of citizenship and identity, usually in the form of a

passport.    Based on the above recited facts, there is probable

cause to believe SHQAIRE obtained and used his United States

Passport unlawfully by making materially false statements in

connection with his application to become a United States

citizen, in violation of 18 U.S.C. § 1542(a) (Use of A Passport

Procured By False Statements); 18 U.S.C. § 1544 (Misuse of a

Passport).

      E.     Grand Jury Returns Indictment Charging SHQAIRE with
             Unlawful with Procurement of Naturalization
      23.    On September 28, 2018, a grand jury sitting in the

Central District of California, returned an indictment,

CR. No. 18-656-JFW, chagrining SHQAIRE with a single count of

Unlawful Procurement of Naturalization, in violation of

18 U.S.C. § 1425(a), based on three materially false statement

SHQAIRE made in connection with his October 7, 2008

naturalization interview, namely:        (1) that he had never been

arrested for or convicted of a crime or served time in prison;

(2) that he had never been a member of or associated with any

organization, association, fund, foundation, party, club,

society or similar group in the United States or in any other

place; and (3) that he had never given false or misleading

information to any U.S. government official while applying for

an immigration benefit.      The indictment remains under seal

pending SHQAIRE’s arrest.




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      F.     SHQAIRE Resides at the SUBJECT PRESMIES
      24.    According to California Department of Motor Vehicle

(“DMV”) Records, SHQAIRE’s current address on file with the DMV

is 8000 E. Telegraph Road, Apt. 40, Downey, CA, 90204, the

SUBJECT PREMISES.     The SUBJECT PREMISES is also on file as

SHQAIRE’s current address in several law enforcement and public

records databases.

      25.    On October 4, 2018, I surveilled 8000 E. Telegraph

Road, an apartment complex in Downey, CA.         I observed an

apartment directory that lists each unit number and the

corresponding tenant’s last name.        “Shqaire” was listed as the

resident of Apartment 40.      I did not observe SHQAIRE at the

apartment complex on that day.

      26.    I know based on my training and experience that

individuals commonly maintain originals and copies of important

documents, such as passports and immigration documents at their

residence.    An individual who travels often is likely to keep

their passport in an easily accessible, but safe location, like

their home or office.     In addition, people often maintain

records of their international travel, including airline

tickets, itineraries, and travel receipts for long periods of

time at their homes.     Thus, it is likely, immigration documents,

travel documents, and SHQAIRE’s United States Passport will be

found at the SUBJECT PREMISES.

            VI.   TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      27.    As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing


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data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.     Based on my knowledge, training, and

experience, as well as information related to me by agents and

others involved in the forensic examination of digital devices,

I know that data in digital form can be stored on a variety of

digital devices and that during the search of a premises it is

not always possible to search digital devices for digital data

for a number of reasons, including the following:

           a.    Searching digital devices can be a highly

technical process that requires specific expertise and

specialized equipment.      There are so many types of digital

devices and software programs in use today that it is impossible

to bring to the search site all of the necessary technical

manuals and specialized equipment necessary to conduct a

thorough search.     In addition, it may be necessary to consult



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with specially trained personnel who have specific expertise in

the types of digital devices, operating systems, or software

applications that are being searched.

           b.    Digital data is particularly vulnerable to

inadvertent or intentional modification or destruction.

Searching digital devices can require the use of precise,

scientific procedures that are designed to maintain the

integrity of digital data and to recover “hidden,” erased,

compressed, encrypted, or password-protected data.          As a result,

a controlled environment, such as a law enforcement laboratory

or similar facility, is essential to conducting a complete and

accurate analysis of data stored on digital devices.

           c.    The volume of data stored on many digital devices

will typically be so large that it will be highly impractical to

search for data during the physical search of the premises.            A

single megabyte of storage space is the equivalent of 500

double-spaced pages of text.       A single gigabyte of storage

space, or 1,000 megabytes, is the equivalent of 500,000 double-

spaced pages of text.     Storage devices capable of storing 500 or

more gigabytes are now commonplace.        Consequently, just one

device might contain the equivalent of 250 million pages of

data, which, if printed out, would completely fill three 35’ x

35’ x 10’ rooms to the ceiling.       Further, a 500 gigabyte drive




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could contain as many as approximately 450 full run movies or

450,000 songs.

           d.    Electronic files or remnants of such files can be

recovered months or even years after they have been downloaded

onto a hard drive, deleted, or viewed via the Internet.2

Electronic files saved to a hard drive can be stored for years

with little or no cost.      Even when such files have been deleted,

they can be recovered months or years later using readily-

available forensics tools.      Normally, when a person deletes a

file on a computer, the data contained in the file does not

actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data.        Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space, i.e., space on a hard drive that is not allocated to an

active file or that is unused after a file has been allocated to

a set block of storage space, for long periods of time before

they are overwritten.     In addition, a computer’s operating

system may also keep a record of deleted data in a swap or

recovery file.    Similarly, files that have been viewed on the

Internet are often automatically downloaded into a temporary

directory or cache.     The browser typically maintains a fixed



      2These statements do not generally apply to data stored in
volatile memory such as random-access memory, or “RAM,” which
data is, generally speaking, deleted once a device is turned
off.


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amount of hard drive space devoted to these files, and the files

are only overwritten as they are replaced with more recently

downloaded or viewed content.       Thus, the ability to retrieve

residue of an electronic file from a hard drive depends less on

when the file was downloaded or viewed than on a particular

user’s operating system, storage capacity, and computer habits.

Recovery of residue of electronic files from a hard drive

requires specialized tools and a controlled laboratory

environment.    Recovery also can require substantial time.

           e.     Although some of the records called for by this

warrant might be found in the form of user-generated documents

(such as word processing, picture, and movie files), digital

devices can contain other forms of electronic evidence as well.

In particular, records of how a digital device has been used,

what it has been used for, who has used it, and who has been

responsible for creating or maintaining records, documents,

programs, applications and materials contained on the digital

devices are, as described further in the attachments, called for

by this warrant.     Those records will not always be found in

digital data that is neatly segregable from the hard drive image

as a whole.     Digital data on the hard drive not currently

associated with any file can provide evidence of a file that was

once on the hard drive but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has


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been deleted from a word processing file).         Virtual memory

paging systems can leave digital data on the hard drive that

show what tasks and processes on the computer were recently

used.   Web browsers, e-mail programs, and chat programs often

store configuration data on the hard drive that can reveal

information such as online nicknames and passwords.          Operating

systems can record additional data, such as the attachment of

peripherals, the attachment of USB flash storage devices, and

the times the computer was in use.        Computer file systems can

record data about the dates files were created and the sequence

in which they were created.      This data can be evidence of a

crime, indicate the identity of the user of the digital device,

or point toward the existence of evidence in other locations.

Recovery of this data requires specialized tools and a

controlled laboratory environment, and also can require

substantial time.

           f.    Further, evidence of how a digital device has

been used, what it has been used for, and who has used it, may

be the absence of particular data on a digital device.           For

example, to rebut a claim that the owner of a digital device was

not responsible for a particular use because the device was

being controlled remotely by malicious software, it may be

necessary to show that malicious software that allows someone

else to control the digital device remotely is not present on


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the digital device.     Evidence of the absence of particular data

on a digital device is not segregable from the digital device.

Analysis of the digital device as a whole to demonstrate the

absence of particular data requires specialized tools and a

controlled laboratory environment, and can require substantial

time.

           g.    Digital device users can attempt to conceal data

within digital devices through a number of methods, including

the use of innocuous or misleading filenames and extensions.

For example, files with the extension “.jpg” often are image

files; however, a user can easily change the extension to “.txt”

to conceal the image and make it appear that the file contains

text.   Digital device users can also attempt to conceal data by

using encryption, which means that a password or device, such as

a “dongle” or “keycard,” is necessary to decrypt the data into

readable form.    In addition, digital device users can conceal

data within another seemingly unrelated and innocuous file in a

process called “steganography.”       For example, by using

steganography a digital device user can conceal text in an image

file that cannot be viewed when the image file is opened.

Digital devices may also contain “booby traps” that destroy or

alter data if certain procedures are not scrupulously followed.

A substantial amount of time is necessary to extract and sort

through data that is concealed, encrypted, or subject to booby


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traps, to determine whether it is evidence, contraband or

instrumentalities of a crime.       In addition, decryption of

devices and data stored thereon is a constantly evolving field,

and law enforcement agencies continuously develop or acquire new

methods of decryption, even for devices or data that cannot

currently be decrypted.

      28.     As discussed herein, based on my training and

experience I believe that digital devices will be found during

the search.

            a.    I know from my training and experience and my

review of publicly available materials that several hardware and

software manufacturers offer their users the ability to unlock

their devices through biometric features in lieu of a numeric or

alphanumeric passcode or password.        These biometric features

include fingerprint-recognition, face-recognition, iris-

recognition, and retina-recognition.        Some devices offer a

combination of these biometric features and enable the users of

such devices to select which features they would like to

utilize.

            b.    If a device is equipped with a fingerprint

scanner, a user may enable the ability to unlock the device

through his or her fingerprints.         For example, Apple Inc.

(“Apple”) offers a feature on some of its phones and laptops

called “Touch ID,” which allows a user to register up to five



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fingerprints that can unlock a device.        Once a fingerprint is

registered, a user can unlock the device by pressing the

relevant finger to the device’s Touch ID sensor, which on a cell

phone is found in the round button (often referred to as the

“home” button) located at the bottom center of the front of the

phone, and on a laptop is located on the right side of the

“Touch Bar” located directly above the keyboard.          Fingerprint-

recognition features are increasingly common on modern digital

devices.   For example, for Apple products, all iPhone 5S to

iPhone 8 models, as well as iPads (5th generation or later),

iPad Pro, iPad Air 2, and iPad mini 3 or later, and MacBook Pro

laptops with the Touch Bar are all equipped with Touch ID.

Motorola, HTC, LG, and Samsung, among other companies, also

produce phones with fingerprint sensors to enable biometric

unlock by fingerprint.      The fingerprint sensors for these

companies have different names but operate similarly to Touch

ID.

           c.    If a device is equipped with a facial-recognition

feature, a user may enable the ability to unlock the device

through his or her face.      To activate the facial-recognition

feature, a user must hold the device in front of his or her

face.   The device’s camera analyzes and records data based on

the user’s facial characteristics.        The device is then

automatically unlocked if the camera detects a face with


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characteristics that match those of the registered face.           No

physical contact by the user with the digital device is

necessary for the unlock, but eye contact with the camera is

often essential to the proper functioning of these facial-

recognition features; thus, a user must have his or her eyes

open during the biometric scan (unless the user previously

disabled this requirement).      Several companies produce digital

devices equipped with a facial-recognition-unlock feature, and

all work in a similar manner with different degrees of

sophistication, e.g., Samsung’s Galaxy S8 (released Spring

2017) and Note8 (released Fall 2017), Apple’s iPhone X (released

Fall 2017).       Apple calls its facial-recognition unlock feature

“Face ID.”    The scan and unlock process for Face ID is almost

instantaneous, occurring in approximately one second.

             d.     While not as prolific on digital devices as

fingerprint- and facial-recognition features, both iris- and

retina-scanning features exist for securing devices/data.           The

human iris, like a fingerprint, contains complex patterns that

are unique and stable.      Iris-recognition technology uses

mathematical pattern-recognition techniques to map the iris

using infrared light.      Similarly, retina scanning casts infrared

light into a person’s eye to map the unique variations of a

person’s retinal blood vessels.       A user can register one or both

eyes to be used to unlock a device with these features.           To


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activate the feature, the user holds the device in front of his

or her face while the device directs an infrared light toward

the user’s face and activates an infrared-sensitive camera to

record data from the person’s eyes.        The device is then unlocked

if the camera detects the registered eye.         Both the Samsung

Galaxy S8 and Note 8 (discussed above) have iris-recognition

features.   In addition, Microsoft has a product called “Windows

Hello” that provides users with a suite of biometric features

including fingerprint-, facial-, and iris-unlock features.

Windows Hello has both a software and hardware component, and

multiple companies manufacture compatible hardware, e.g.,

attachable infrared cameras or fingerprint sensors, to enable

the Windows Hello features on older devices.

      29.   In my training and experience, users of electronic

devices often enable the aforementioned biometric features

because they are considered to be a more convenient way to

unlock a device than entering a numeric or alphanumeric passcode
or password.    Moreover, in some instances, biometric features

are considered to be a more secure way to protect a device’s

contents.

      30.   I also know from my training and experience, as well

as from information found in publicly available materials

including those published by device manufacturers, that

biometric features will not unlock a device in some

circumstances even if such features have been enabled.           This can



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occur when a device has been restarted or inactive, or has not

been unlocked for a certain period of time.         For example, with

Apple’s biometric unlock features, these circumstances include

when: (1) more than 48 hours has passed since the last time the

device was unlocked; (2) the device has not been unlocked via

Touch ID or Face ID in eight hours and the passcode or password

has not been entered in the last six days; (3) the device has

been turned off or restarted; (4) the device has received a

remote lock command; (5) five unsuccessful attempts to unlock

the device via Touch ID or Face ID are made; or (6) the user has

activated “SOS” mode by rapidly clicking the right side button

five times or pressing and holding both the side button and

either volume button.     Biometric features from other brands

carry similar restrictions.      Thus, in the event law enforcement

personnel encounter a locked device equipped with biometric

features, the opportunity to unlock the device through a

biometric feature may exist for only a short time.           I do not

know the passcodes of the devices likely to be found during the

search.

      31.   In my training and experience, the person who is in

possession of a device or has the device among his or her

belongings at the time the device is found is likely a user of

the device.

      32.   For these reasons, if while executing the warrant, law

enforcement personnel encounter a digital device that may be

unlocked using one of the aforementioned biometric features, the

warrant I am applying for would permit law enforcement personnel



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to, with respect to SHQAIRE: (1) compel the use of the person’s

thumb- and/or fingerprints on the device(s); and (2) hold the

device(s) in front of the face of the person with his or her

eyes open to activate the facial-, iris-, and/or retina-

recognition feature.     With respect to fingerprint sensor-enabled

devices, although I do not know which of the fingers are

authorized to access any given device, I know based on my

training and experience that it is common for people to use one

of their thumbs or index fingers for fingerprint sensors; and,

in any event, all that would result from successive failed

attempts is the requirement to use the authorized passcode or

password.




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                             VII. CONCLUSION
      33.   For all the reasons described above, there is probable

cause to believe that that SHQAIRE committed violations of

18 U.S.C. § 1001(a) (False Statements to Government Agency);

18 U.S.C. § 1015 (False Statement in Immigration Proceeding);

18 U.S.C. § 1425(a) (Unlawful Procurement of Naturalization);

18 U.S.C. § 1542(a) (Use of A Passport Procured By False

Statements); 18 U.S.C. § 1544 (Misuse of a Passport);

and 18 U.S.C. § 1621 (Perjury), and that for evidence,

contraband, fruits, or instrumentalities of these criminal will

be found in a search of the SUBJECT PREMISES.




                                      Daniel A. Rocha
                                      Special Agent
                                      Homeland Security Investigation

 Subscribed to and sworn before
 me on October___, 2018.



 UNITED STATES MAGISTRATE JUDGE




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